     Case 3:14-cv-02500-MMA-MDD Document 24 Filed 05/21/18 PageID.62 Page 1 of 3




1    Taylor M. Tieman (SBN 305269)
     Krohn & Moss, Ltd.
2    1112 Ocean Dr., 3rd Floor
     Manhattan Beach, CA 90266
3    Tel: (323) 988-2400 ext. 254
     Fax: (866) 861-1390
4    ttieman@consumerlawcenter.com
5    Attorneys for Plaintiff
     LATOYA HAZLE
6

7

8                           IN THE UNITED STATES DISTRICT COURT
9                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10
     LATOYA HAZLE                                       )   Case No.: 3:14-cv-02500-MMA-MDD
11                                                      )
                                                        )   JOINT MOTION TO DISMISS WITH
12                     Plaintiff,                       )   PREJUDICE PURSUANT TO FED. R.
                                                        )   CIV. PROC. 41(a)(1)(A)(ii)
13            v.                                        )
                                                        )   Judge: Hon. Michael M. Anello
14                                                      )
     MIDLAND CREDIT                                     )   Magistrate Judge: Hon. Mitchell D. Dembin
15   MANAGEMENT, INC.,                                  )
                                                        )
16                     Defendant.                       )
17

18

19

20

21

22

23

24

25




                                                  JOINT MOTION TO DISMISS

     P:01192588-2:87025.095 LA01\LEECA\730197.1
     Case 3:14-cv-02500-MMA-MDD Document 24 Filed 05/21/18 PageID.63 Page 2 of 3




1             Plaintiff Latoya Hazle (“Plaintiff”) and Defendant Midland Credit
2    Management, Inc. (“Defendant”) (collectively the “Parties”), pursuant to Rule
3    41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby jointly move this
4    Court to dismiss Plaintiff’s claims against the Defendant in the above-captioned
5    matter with prejudice. The Parties will each bear their own attorneys’ fees and
6    costs.
7
       Dated: May 21, 2018                                       Dated: May 21, 2018
8
       /s/ Robert Franklin Springfield                           /s/ Taylor M. Tieman
9      Robert Franklin Springfield                               Taylor M. Tieman (SBN 305269)
       Burr & Forman, LLP                                        Krohn & Moss, Ltd.
10     201 N. Franklin St., Suite 3200                           1112 Ocean Dr., 3rd Floor
       Tampa, FL 33602                                           Manhattan Beach, CA 90266
11     Tel: (407) 540-6600                                       Tel: (323) 988-2400 ext. 254
       Fax: (407) 540-6601                                       Fax: (866) 861-1390
12     fspringf@burr.com                                         ttieman@consumerlawcenter.com
       MIDLAND CREDIT                                            LATOYA HAZLE
13     MANAGEMENT, INC.

14
                                       SIGNATURE CERTIFICATION
15
              Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
16
     Policies and Procedures Manual, I hereby certify that the content of this document
17
     is acceptable to Robert Franklin Springfield, counsel for Defendants, and that I have
18
     obtained Mr. Springfield’s authorization to affix his electronic signature to this
19
     document.
20

21   DATED: May 21, 2018                                         s/ Taylor M. Tieman
                                                                 TAYLOR M. TIEMAN
22
                                                                 Attorneys for Plaintiff
23                                                               LATOYA HAZLE

24

25


                                                           -1-

                                                  JOINT MOTION TO DISMISS

     P:01192588-2:87025.095 LA01\LEECA\730197.1
     Case 3:14-cv-02500-MMA-MDD Document 24 Filed 05/21/18 PageID.64 Page 3 of 3




1                                        CERTIFICATE OF SERVICE
2             I hereby certify that on May 21, 2018, a true and correct copy of the foregoing
3    with the Clerk of the Court by using the CM/ECF System with copy to all parties
4    via the same.
5                                                                /s/ Taylor M. Tieman
                                                                 Taylor M. Tieman
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                                                           -2-

                                                  JOINT MOTION TO DISMISS

     P:01192588-2:87025.095 LA01\LEECA\730197.1
